          Case 5:19-cv-00058-ADA Document 28 Filed 06/28/19 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

PRIORITY DESIGN & SERVICE, INC.,                §
          Plaintiff,                            §
                                                §            CIVIL ACTION NO.
VS.                                             §            5:19-CV-00058-OLG
                                                §
GABRIEL PLAZA dba PRIORITY AIR                  §
SERVICE,                                        §
          Defendant.                            §


              JOINT REPORT ON ALTERNATIVE DISPUTE RESOLUTION
                    IN COMPLIANCE WITH LOCAL RULE CV-88

        Plaintiff and Defendant have conferred with regard to the matters described in Local Rule

CV-88(b) and hereby submit their Joint Report on Alternative Dispute Resolution in Compliance

with Local Rule CV-88.

1.      Status of Settlement Negotiations

        Plaintiff made an initial settlement demand on May 3, 2019. Defendant responded to that

initial demand with a counter-proposal on May 30, 2019. Plaintiff responded to Defendant’s

counter-proposal on June 14, 2019.

2.      Persons Responsible for Settlement Negotiations for Each Party

        Kristine B. Hubbard of the Cokinos | Young law firm is the person responsible for

settlement negotiations for Plaintiff.

        Richard G. Miller, lead counsel for Defendant, is the person responsible for settlement

negotiations for Defendant.

3.      Evaluating Whether ADR is Appropriate in the Case

        The parties are in agreement that ADR in the form of mediation is appropriate for this

case.


JOINT REPORT ON ALTERNATIVE DISPUTE RESOLUTION
IN COMPLIANCE WITH LOCAL RULE CV-88 – Page 1
         Case 5:19-cv-00058-ADA Document 28 Filed 06/28/19 Page 2 of 3



4.     ADR Provider

       By agreement, Plaintiff and Defendant have selected Don Philbin, ADR Toolbox, P.O.

Box 12367, San Antonio, Texas 78212, telephone number (210) 212-7100, to act as mediator in

this case. The parties agree that they will each pay one-half of the fees of the mediator,

regardless of the outcome of ADR.


Respectfully submitted,                       Respectfully submitted,

COKINOS | YOUNG                               FLETCHER, FARLEY,
                                              SHIPMAN & SALINAS, L.L.P

/s/ Stephanie O’Rourke                        /s/ Richard G. Miller
STEPHANIE O’ROURKE                            RICHARD G. MILLER
State Bar No. 15310800                        State Bar No. 14107500
Email: sorourke@cokinoslaw.com                Email: richard.miller@fletcherfarley.com
LAUREN S. ALDREDGE                            DOUGLAS D. FLETCHER
State Bar No. 24079380                        State Bar No. 07139500
Email: laldredge@cokinoslaw.com               Email: doug.fletcher@fletcherfarley.com
900 S. Capital of Texas Hwy., Suite 425       9201 North Central Expressway, Suite 600
Austin, Texas 78746                           Dallas, Texas 75231
(210) 293-8700 Telephone                      (214) 987-9600 Telephone
(210) 293-8733 Facsimile                      (214) 987-9866 Facsimile

ATTORNEYS FOR PLAINTIFF                       and
PRIORITY DESIGN & SERVICE, INC.
                                              GUNN, LEE, & CAVE, P.C.

                                              MIGUEL VILLARREAL, JR.
                                              State Bar No. 24042095
                                              Email: mvillarreal@gunn-lee.com
                                              BRANDON T. COOK
                                              State Bar No. 24084166
                                              Email: bcook@gunn-lee.com
                                              8023 Vantage Dr., Suite 1500
                                              San Antonio, Texas 78230
                                              (210) 886-9500 Telephone
                                              (210) 886-9883 Facsimile

                                              ATTORNEYS FOR DEFENDANT
                                              GABRIEL PLAZA dba
                                              PRIORITY AIR SERVICE


JOINT REPORT ON ALTERNATIVE DISPUTE RESOLUTION
IN COMPLIANCE WITH LOCAL RULE CV-88 – Page 2
          Case 5:19-cv-00058-ADA Document 28 Filed 06/28/19 Page 3 of 3




                                   CERTIFICATE OF SERVICE

         I hereby certify that the foregoing instrument was electronically filed via the Court’s CM/ECF
system and a true and correct copy of same thereby also was delivered to all counsel of record in accordance
with the Federal Rules of Civil Procedure on the 28th day of June 2019.


                                                 /s/ Richard G. Miller
                                                 RICHARD G. MILLER




JOINT REPORT ON ALTERNATIVE DISPUTE RESOLUTION
IN COMPLIANCE WITH LOCAL RULE CV-88 – Page 3
